                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                             DOCKET NO. 3:16-cr-221-MOC-DCK-10

 UNITED STATES OF AMERICA,                               )
                                                         )
                                                         )
                                                         )
 Vs.                                                     )                  ORDER
                                                         )
 (10) SCOTT DEARBORN,                                    )
                                                         )
                           Defendant.                    )


       THIS MATTER is before the Court on the government’s Motion for Leave to Dismiss

Second Superseding Bill of Indictment. Having considered the government’s motion and

reviewed the pleadings, the Court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion for Leave to Dismiss

Second Superseding Bill of Indictment (#193) as to defendant Scott Dearborn is GRANTED,

and the Second Superseding Bill of Indictment is dismissed without prejudice as to defendant

Scott Dearborn.



 Signed: January 3, 2018




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